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                           UNITED STATES DISTRICT COURT
 6
                        EASTERN DISTRICT OF WASHIGNTON
 7
 8 UNITED STATES OF AMERICA,                       No. CR-13-012-RMP-3
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                Plaintiff,                         ORDER REVOKING PRETRIAL
10 vs.                                             RELEASE AND IMPOSING
11                                                 DETENTION, AND GRANTING, IN
   SHANNON STILTNER,                               PART, MOTION FOR
12
                                                   RECONSIDERATION
13                      Defendant.
14         At the May 31, 2013, pretrial release revocation hearing on the Motion to
15   revoke bond, ECF No. 129, and the Pretrial Petition for Action, ECF No. 144,
16   Assistant United States Attorney Sean McLaughlin appeared for the United States.
17   Defendant was present with Assistant Federal Defender Jay McEntire. Also before
18   the court was the Plaintiff’s Motion for Reconsideration. ECF No. 140. Defendant
19   did not contest the facts proffered through the Violation Report as to Violation #2.
20   Alleged Violation #1 regarding Defendant’s passport is dismissed. The parties
21   agreed Defendant’s passport earlier had been seized by federal agents. Both sides
22   presented argument.
23         The United States contended Defendant violated pretrial release conditions
24   by having direct telephone contact with Co-Defendant, Gregory Jeffreys. The facts
25   are undisputed as to telephone contact during May 2013.
26         This court has taken into account the Pretrial Services Report, and
27   information produced at this hearing concerning the nature and the circumstances
28
     ORDER REVOKING PRETRIAL RELEASE AND IMPOSING DETENTION,
     AND GRANTING, IN PART, MOTION FOR RECONSIDERATION- 1
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 1   of the offense charged, the weight of the evidence against the Defendant, her
 2   history and characteristics, including character, physical and mental condition,
 3   family ties, employment, financial resources, length of residence in the
 4   community, community ties, past conduct, history relating to alcohol and drug
 5   abuse, criminal history, record concerning appearance at court proceedings, and the
 6   nature and seriousness of the danger to the community that would be posed by
 7   Defendant's release. United States v. Gebro, 948 F.2d 1118 (9th Cir. 1991).
 8         The United States has shown by clear and convincing evidence Defendant
 9   violated pretrial conditions of release. This court finds the United States has
10   established Defendant is unlikely to abide by any conditions. Accordingly,
11         IT IS ORDERED:
12         1.     Defendant's release previously ordered by the court, is REVOKED.
13   The question of bond forfeiture is taken under advisement. The parties have five
14   business days to file and serve additional argument.
15         2.     Defendant shall be held in detention pending disposition of this case
16   or until further order of the court.
17         3.     The Motion for Reconsideration, ECF No. 140, is GRANTED in
18   part. The telephone call recordings shall be transcribed, redacted as to personal
19   identifiers, and filed within 45 days of the date of this Order.
20         4.     Defendant is committed to the custody of the United States Marshal
21   for confinement separate, to the extent practicable, from persons awaiting or
22   serving sentences or being held in custody pending appeal.
23         5.     Defendant shall be afforded reasonable opportunity for private
24   consultation with her counsel.
25         6.     If Defendant seeks review of this Order pursuant to 18 U.S.C. §
26   3145(b), attorney for Defendant shall file a written motion for revocation or
27   amendment of this Order within ten (10) days and note it for hearing before the
28
     ORDER REVOKING PRETRIAL RELEASE AND IMPOSING DETENTION,
     AND GRANTING, IN PART, MOTION FOR RECONSIDERATION- 2
     Case 2:13-cr-00012-RMP     ECF No. 153   filed 06/03/13   PageID.1055 Page 3 of 3




 1   district judge assigned to this case. Both parties are responsible to ensure the
 2   timely disposition of the Motion.
 3         DATED June 3, 2013.
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 5                            S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
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     ORDER REVOKING PRETRIAL RELEASE AND IMPOSING DETENTION,
     AND GRANTING, IN PART, MOTION FOR RECONSIDERATION- 3
